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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

JASON SCHAUMLEFFEL,                                 :       No. 2:17-cv-463

       Plaintiff,                                           Judge George Smith
                                                    :       Magistrate Judge Kimberly Jolson

       v.
                                                    :       MOTION OF DEFENDANT,
                                                            MARK K. NEAL, FOR
MUSKINGUM UNIVERSITY, et al.,                               JUDGMENT ON THE
                                                    :       PLEADINGS
       Defendants.


       Pursuant to Fed. R. Civ. P. 12(c), Defendant, Mark K. Neal, moves this Court for

judgment on the pleadings as to Plaintiff’s claims against him. Plaintiff can prove no set of facts

entitling him to relief as to those claims, and Mark K. Neal is entitled to judgment as a matter of

law. This motion is supported by the attached memorandum, which is incorporated by reference.




                                                    Respectfully submitted,


                                                    /s/ Bartholomew T. Freeze
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                                    MEMORANDUM IN SUPPORT

I.      INTRODUCTION & SUMMARY

        Plaintiff, an elected public official, has been accused of—and found responsible for—

sexual misconduct against two young women. One young woman states Plaintiff sexually

harassed and stalked her.       The other states Plaintiff sexually assaulted her.   Muskingum

University (“Muskingum”), where Plaintiff and the two young women attended college,

investigated the accusations of misconduct, held a hearing, and determined Plaintiff was

responsible for sexual harassment and non-consensual sexual intercourse. Plaintiff was expelled

from Muskingum and banned from the university.

        Plaintiff, for all relevant times, has also been an elected member of the Tri-Valley Local

School District Board of Education (the “Board” or “District”). Information was anonymously

shared with the Board concerning Muskingum’s determination that Plaintiff was responsible for

sexual misconduct against two young women, as well as Plaintiff’s expulsion/ban from the

university.   The Board—and its superintendent Mark K. Neal (“Superintendent Neal”)—

thereafter sought to obtain information concerning the matter. Plaintiff, ultimately, took issue

with the fact that the Board, and specifically Superintendent Neal, refused to be complicit in his

attempt to cover up the matter. Plaintiff, accordingly, filed this lawsuit against, inter alia,

Superintendent Neal, alleging claims for (1) defamation, (2) false light invasion of privacy, and

(3) publication of private facts.

        Superintendent Neal now moves for judgment on the pleadings as to all of Plaintiff’s

claims. First, Superintendent Neal is entitled to political subdivision employee immunity. He, at

all relevant times, acted in good faith and within the scope of his employment and official

responsibilities.



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       Second, Superintendent Neal is entitled to judgment on the pleadings as to Plaintiff’s

defamation claim. His statements are true or, at a minimum, protected speech. Qualified

privilege also protects these statements. Moreover, Plaintiff, as an elected public official, has

failed to meet the high threshold of showing Superintendent Neal acted with “actual malice” in

making any statements. Indeed, Plaintiff fails to actually allege what Superintendent Neal said to

defame him.    Plaintiff, instead, appears to base his claims against Superintendent Neal on a

purported FERPA violation by Muskingum. But, this quasi-FERPA claim fails because, inter

alia, there is no private cause of action under FERPA.

       Third, Superintendent Neal is entitled to judgment on the pleadings as to Plaintiff’s claim

for false light invasion of privacy for the same reasons he is entitled to judgment as to Plaintiff’s

defamation claim.

       Fourth, Superintendent Neal is entitled to judgment on the pleadings as to Plaintiff’s

claim for “publication of private facts” because when an elected public official, such as Plaintiff,

is accused of—and found responsible for—sexual misconduct against two young women, this is

not a “private” matter. Rather, it is a matter of public concern.

II.    STATEMENT OF FACTS

       Plaintiff is a former student at Muskingum University.           Doc. 1, ¶18.    Muskingum

determined he engaged in non-consensual sexual misconduct towards two female Muskingum

students in 2016–17, resulting in his expulsion from the university and ban from its campus. See

id. Plaintiff, for all relevant times, has been an elected member of the Board. Id., ¶5. He began

his term in January 2016; his term expires January 31, 2019. Doc. 1-47.




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       A.      Macey Zambori states Plaintiff sexually harassed and stalked her.

       Macey Zambori, in Fall 2015, was a college freshman at Muskingum University. Doc.

45, p. 24, ¶8. That year, Ms. Zambori met Plaintiff through Muskingum’s Student Senate;

Plaintiff, at that time, served as the Senate’s Executive Vice President. Id., p. 24, ¶9; Doc. 55 ¶9.

Ms. Zambori, on or about February 7, 2016, agreed to meet Plaintiff socially. Doc. 45, p. 24

¶12; Doc. 55, ¶12. Ms. Zambori states, over the following two days, Plaintiff engaged in

“creepy and persistent sexually aggressive, perverted, and harassing behavior that scare[d] and

disturb[ed]” her. Doc 45, p. 24, Heading B.

       Ms. Zambori states Plaintiff’s actions towards her made her “feel[] unsafe in her own

dorm room and so disturbed that she obtained a no-contact order.” Doc 45, p. 1. Plaintiff, for

example, “continued to attempt to touch Ms. Zambori underneath her clothes against her

instruction.” Id., p. 26, ¶21. He touched her below the waist despite her repeatedly telling him

not to. Doc. 45, pp. 25–27, ¶¶16–18, 20, 21, 29–32. Plaintiff “repeatedly begged” Ms. Zambori

to have sexual intercourse with him. Doc. 45, p. 25, ¶14. And he, after Ms. Zambori refused to

have sexual intercourse with him, placed his belt around Ms. Zambori’s neck; within inches of

her face, he stated “I’m in control.” Id., ¶36.

       Ms. Zambori states Plaintiff further pressured her to permit him to take nude photographs

of her. Id. p. 28, ¶¶33–34, 37, 38. Ms. Zambori states Plaintiff, at the conclusion of their final

in-person encounter, stated “by virtue of his job with Muskingum University’s Computer &

Network Services, his keycard worked such that he could access Ms. Zambori’s dorm building.”

Id., p. 28, ¶41. Ms. Zambori was scared because [Plaintiff’s] aggressive, persistent, highly

sexualized, and perverse behavior.” Id.




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       Ms. Zambori states Plaintiff then began to stalk her. Id., p. 29, Heading C & ¶43. He

sent her sexual messages via text/Snapchat, continually sought to determine where she was, and

became upset when she did not respond immediately to his communications. Id. Ms. Zambori,

after providing a statement to Muskingum’s Title IX Coordinator about Plaintiff’s conduct, was

granted a no-contact order on February 9, 2016, barring Plaintiff from contacting her. Id. pp.

29–30, ¶¶50–51; Doc 55, ¶51. Ms. Zambori, in January 2017, submitted a formal complaint to

Muskingum regarding Plaintiff’s misconduct. Doc. 45, p. 30, ¶¶52–53.)

       B.      Mackenzie Dicekerson states Plaintiff sexually assaulted her.

       Mackenzie Dickerson, in Fall 2016, was a college freshman at Muskingum. Doc. 46, p.

55, ¶8. Ms. Dickerson, during her first semester at Muskingum, became a member of the

Muskingum Programming Board (“MPB”). Id., p. 55, ¶9.

       Ms. Dickerson, during that same semester, met Plaintiff through a dating phone app.

Doc. 1, ¶26; Doc. 46, p. 55, ¶10. They first met, in person, in late November 2016. Doc. 46, p.

56, ¶17. Plaintiff, through the app, began sending sexually explicit messages to Ms. Dickerson.

Doc. 1, ¶¶29–30; Doc. 51, ¶12. They first met, in person, in late November 2016. Doc. 1, ¶32;

Doc. 46, ¶17. Plaintiff—as President of the Student Senate by that time—also stressed to Ms.

Dickerson his importance on campus and that he could manipulate the MPB’s budget. Doc. 46,

p. 56, ¶¶13, 14, 19.     Plaintiff demanded Ms. Dickerson send him nude photographs; Ms.

Dickerson eventually felt compelled to do so due to her fear that Plaintiff would defund the MPB

if she didn’t. Id., p. 57, ¶¶25–26.

       Plaintiff and Ms. Dickerson first met, in person, in late November 2016. Doc. 46, p. 56,

¶17. Their second in-person meeting occurred a few days later when Plaintiff—intoxicated and

unannounced—showed up at Ms. Dickerson’s dorm room. Id., p. 57, ¶27. Plaintiff, after trying



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to drag Ms. Dickerson to a nearby stairwell to kiss her, followed her back to her dorm room and

would not leave. Id., pp. 57–58, ¶¶28–33. The next day, Plaintiff again appeared at her dorm

room uninvited and refused to leave. Id., p. 58, ¶¶36–41. Plaintiff then coerced her into non-

consensual sexual touching through threats and physical force and threat of force. Id., p. 59,

¶¶42–48.

       Their final in-person meeting included Plaintiff driving Ms. Dickerson to the New

Concord Reservoir. Doc. 1 ¶¶47–50; Doc. 46, pp. 61–62, ¶¶63–74. Ms. Dickerson did not want

to go the reservoir with Plaintiff, but she was too scared to resist; Plaintiff had locked his car

doors and taken away Ms. Dickerson’s cell phone. Doc. 46, p. 62, ¶¶74–81. Plaintiff then

engaged in sexual intercourse with Ms. Dickerson, without her consent and against her will, in

the backseat of his car. Id., pp. 62–63, ¶¶84–98. Ms. Dickerson subsequently went to the

hospital where a rape kit was done. Id., p. 64, ¶¶104–13.

       Ms. Dickerson experienced emotional strain promptly after Plaintiff’s actions, and lost

motivation to do well in school and losing weight. Id., pp. 60–61, ¶¶60–62. She withdrew from

Muskingum and has not enrolled in any other college. Id., p. 65, ¶¶117–21.

       C.      Muskingum University determined Plaintiff was responsible for sexual
               misconduct against Macey Zambori and Mackenzie Dickerson.

       On January 16, 2017, Muskingum’s Title IX Coordinator, Amber Zifzal Farley

(“Coordinator Farley”), sent Plaintiff a letter notifying him that Muskingum was investigating an

allegation he engaged in “acts of serious misconduct,” specifically non-consensual sexual

intercourse. Doc 1-27. The letter directed him to meet with Muskingum Title IX investigators

Valerie Smith (“Investigator Smith”) and Beth Fox (“Investigator Fox”) for an interview. Doc.

1, ¶158; Doc. 1-27. On January 25, 2017, Investigators Smith and Fox interviewed Plaintiff.

Doc. 1 ¶¶160–67; Doc. 44, ¶¶67–71).


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       Investigators Smith and Fox, on February 22, 2017, completed and submitted their

investigation report (the “Report”) to Coordinator Farley. Doc. 1 ¶¶160–67; Doc. 1-35; Doc 44,

¶¶67–71. The Report stated Muskingum’s investigation originally pertained only to allegations

of “Non-Consensual Sexual Intercourse,” but had also resulted in the additional alleged violation

of “Sexual Harassment.” Doc. 1-35, p. 1. Muskingum’s Student Conduct Code defines those

violations as follows:

      Sexual Harassment:

           o Sexual Harassment is:

                        Unwelcome, gender-based verbal or physical conduct that is,

                        Sufficiently severe, persistent or pervasive that it,

                        Unreasonably interferes with, denies or limits someone’s ability to
                         participate in or benefit from the University’s educational program
                         and/or activities, and is

                        Based on power differentials (quid pro quo), the creation of a
                         hostile environment, or retaliation.

           o Examples of “Sexual Harassment” include: an attempt to coerce an
             unwilling person into a sexual relationship; to repeatedly subject a person
             to egregious, unwelcome sexual attention; to punish a refusal to comply
             with a sexual based request; to condition a benefit on submitting to sexual
             advances; sexual violence; intimate partner violence, stalking; gender-
             based bullying.

      Non-Consensual Sexual Intercourse

           o Non-consensual sexual intercourse is:

                        any sexual intercourse

                        however slight,

                        with any object,

                        by a person upon another person,



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                       that is without consent and/or by force

            o Intercourse includes, but may not be limited to: vaginal penetration by a
              penis, object, tongue or finger, anal penetration by a penis, object, tongue,
              or finger, and oral copulation (mouth to genital contact or genital to mouth
              contact), no matter how slight the penetration or contact.

Id., p. 2; Doc. 1-17, p. 61.

        The Report then describes, in great detail, Plaintiff’s interactions with Ms. Zambori and

Ms. Dickerson. Doc. 1-35, pp. 2–10. Due to its length, the Report’s description of those

interactions is not reproduced herein.        See id.      In summary, Plaintiff claimed his sexual

interactions with Ms. Zambori and Dickerson were consensual. See generally id. Both Ms.

Zambori and Ms. Dickerson stated their respective sexual interactions with Plaintiff were not

consensual. See generally id. They both stated they were afraid of Plaintiff. See generally id.

        Investigators Smith and Fox determined, based on their investigation, that Plaintiff’s

account of his interactions with Defendants Zambori and Dickerson was not credible; the Report

lists several discrepancies/inconsistencies in Plaintiff’s account of events. See id., pp. 10–12.

The Report further described the similarities between the Ms. Zambori’s and Ms. Dickerson’s

accounts of their respective interactions with Plaintiff, as follows:

                The two complainants, both first-year women living in Thomas Hall at the
                time of the incidents, did not know each other prior to this investigation.
                Yet their descriptions of what they experienced and of [Plaintiff] as a
                sexual partner are very similar.

                They both speak of being scared and intimidated, that they did not want to
                send sexual pictures and that he persisted, that they said no repeatedly to
                what he asked to do sexually and that he kept pushing and they both felt
                he was coercive. They both felt that he used his position of perceived
                power on campus to get what he wanted, they felt intimidated about doing
                anything against the President of Student Senate who was one of the
                youngest to be elected to a school board and whose father was a police
                officer, facts they felt like he made sure they knew. The two women
                describe him as controlling and domineering, the use of a belt with [Ms.
                Zambori] and pulling [Ms. Dickerson’s] hair. Both women vividly


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                remember these acts but [Plaintiff] does not. They both share that
                messages from him were possessive and persistent. ***

                Both women believe he is a threat to other women on campus and
                they do not want any other women to have to go through what they
                experienced.

 (emphasis added). On March 1, 2017, Plaintiff met with Director Farley to receive a copy of the

 Report. Doc. 1, ¶¶168–69; Doc. 44 ¶¶72–73.

        The Muskingum Community Standards Board, on March 14, 2017, held a hearing and

 determined Plaintiff was responsible for non-consensual sexual intercourse and sexual

 harassment. Doc. 1, ¶180; Doc. 1-38. Plaintiff was expelled from Muskingum and banned from

 its campus. Id., p. 2. The findings letter, dated March 15, 2017, stated:

                In regard to the charge of Sexual Harassment, the Board felt that
                the ongoing threatening text messages to both complainants were
                in direct violation of this policy.

                The Board found you responsible for the charge of Non-
                Consensual Sexual Intercourse because they did not believe
                consent was obtained through words or actions with either
                complainant.

                The Board felt the outcome of expulsion was appropriate given
                that they found a pattern of behavior between the reports as well as
                the severity and level of impact that these behaviors had on others.

 Doc. 1-38, p. 2 (emphasis added).

        Plaintiff, on March 18, 2017, filed an appeal as to his sanction of expulsion. Doc. 1

 ¶189. He did not, however, appeal Muskingum’s findings that he was responsible for sexual

 harassment and non-consensual sexual intercourse. Doc. 1, ¶189. Muskingum, on March 21,

 2017, denied Plaintiff’s appeal and affirmed his expulsion/ban from the university. Id. ¶190;

 Doc. #1-41.




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        D.     The fact that Plaintiff, an elected public official, was found responsible for
               sexual misconduct is a matter of public concern in the Tri-Valley Local
               School District.

        Plaintiff, during his interactions with Ms. Zambori and Ms. Dickerson and at the time of

 Muskingum’s decision finding him responsible for sexual harassment and non-consensual sexual

 intercourse, has been an elected member of the Board. Following Plaintiff’s expulsion/ban from

 Muskingum, Board members received an anonymous letter, on or about March 22, 2017, stating

 Plaintiff had been expelled from Muskingum and banned from campus for incidents involving

 sexual misconduct:

               Tri-Valley Board of Education Member,

               This letter is in regards to current board member Mr. Jason Schaumleffel
               [Plaintiff].

               Information has surfaced that [Plaintiff] has been expelled from
               Muskingum University and banned from campus for incidents involving
               sexual misconduct. I have relationships with current students and faculty
               at Muskingum University who have asked not to be identified, but felt that
               the Tri-Valley Board of Education should be made aware of this situation.
               I would suggest you reach out to Muskingum University for all
               information on this issue.

               This is of grave concern as a resident and parent of children in the
               Tri-Valley School District.

               I would hope that the Board of Education investigate and take swift action
               to remove [Plaintiff] from contact with our student [sic.] and our campuses
               and follow suite [sic.] with the actions of Muskingum University. I would
               expect to see some action on this immediately.

 Doc. 1-46, p. 4 (emphasis added); see Doc. 32 ¶29;

        Thereafter, on March 27, 2017, the Board’s superintendent, Mark Neal (“Superintendent

 Neal”)—while working as the Board’s employee and agent—sent public records requests to both

 the Muskingum University Police Department and the Muskingum University Dean of Students,




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 seeking records regarding the arrest, expulsion/removal, investigation, or charges of sexual

 assault by Plaintiff. Doc. 1, ¶205; Doc. 1-43; Doc. 32, ¶23.

        The following day, on March 28, 2017, the Board’s treasurer, Ryan Smith (“Treasurer

 Smith”), issued a public notice that the Board would hold a special meeting on March 30, 2017,

 to consider “the discipline of a public official, or the investigation of charges or complaints

 against a public official pursuant to ORC 121.22.” Doc. 1, ¶206; Doc. 1-44; Doc 32, ¶24). The

 Board, after the special meeting concluded, issued a public statement in which it announced that

 the focus of the special meeting was information received “from an anonymous source regarding

 [Plaintiff], one of the members of the Board of Education.” Doc. 1, ¶207; Doc. 1-45. The Board

 stated that it was “in the process of investigating the allegations set forth in the letter to the best

 of its ability.” Doc. 1-45.

        In a letter dated March 30, 2017, Muskingum’s Vice President of Student Affairs, Janet

 Heeter Bass, denied the public records request for public records related to Muskingum’s

 determination that Plaintiff had engaged in sexual misconduct. See Doc. 1-46, p. 7). She stated

 Muskingum would, however, produce the records if Plaintiff executed a release. Id., p. 5.

        Superintendent Neal, on March 31, 2017, forwarded VP Bass’s e-mail to members of the

 Board (including Plaintiff) as well as certain District administrative personnel, asking Plaintiff to

 sign a release to allow Muskingum to provide records pertaining to Plaintiff’s disciplinary

 history. See id., p. 5. Superintendent Neal, in his e-mail, wrote that “[i]n my opinion, It is time

 to provide the records or resign from the Board of Education.” Id., p. 5. This email thread was

 subsequently produced in response to a public records request from a local media publication,

 the Zanesville Times Reporter. Doc. 32, ¶28; see Doc. 1-46, p. 16.




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         Superintendent Neal, on April 21, 2017, sent a follow-up e-mail to Board members

 (including Plaintiff) and certain District administrative personnel, stating Plaintiff “has not

 signed a release of his information from Muskingum University as we requested.” Doc. 1-48,

 p. 2. Superintendent Neal, in that e-mail, described as a “scandal” Plaintiff’s “two incidents of

 sexual misconduct,” expulsion/ban from Muskingum, and subsequent refusal to be honest about

 the situation with constituents at a public Board meeting. Doc. 1-48, p. 2. He opined that

 Plaintiff’s actions constituted “malfeasance” and that Ms. Zambori and Dickerson—not

 Plaintiff—were the victims in the situation. Id.

         The Board, on or about May 18, 2017, issued a media release stating that, while

 Muskingum had refused to release the details pertaining to the investigation without Plaintiff’s

 consent (which was not given), the Board had been able to determine Plaintiff was expelled and

 banned from Muskingum for Title IX violations (sexual misconduct). Doc. 1-49. The release

 further stated that the Board had twice formally asked Plaintiff to resign, but he has refused to do

 so and has likewise been uncooperative and unresponsive in responding to public inquiry

 concerning his expulsion/ban from Muskingum. Id.

         The Board, at each of its sixteen regular public meetings since it became aware of

 Plaintiff’s expulsion/ban from Muskingum for sexual misconduct, has voted for Plaintiff to

 resign from his position on the Board. See District Board Meeting Minutes (2017: Apr. 6, May

 11, June 22, July 13, Aug. 10, Sept. 14, Oct. 11, Nov. 8, Dec. 11; and 2018: Jan. 11; Feb. 8 ,

 Mar. 8, Apr. 12, May 17, June 28, July 12)1. Each of these votes has been unanimous in favor of

 Plaintiff’s resignation; most of the votes have been 4-0 with Plaintiff abstaining, but Plaintiff has

 voted twice in favor of his own resignation (on Apr. 6, 2017 and Feb. 8, 2018) despite not

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         Pursuant to Fed. R. Evid. 201, Superintendent Neal requests this Court take judicial notice of the Board’s
 meeting minutes, which are publicly available and “can be accurately and readily determined from sources whose
 accuracy cannot reasonably be questioned.”

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 actually resigning. See id. Plaintiff has acknowledged that his expulsion/ban from Muskingum

 for sexual misconduct is a matter of public concern. See Doc. 1, ¶215. It was discovered, earlier

 this year, that Plaintiff—while serving as a member of the Board—has been Snapchatting

 inappropriate messages to a female high school student in the District.2 Doc. 45, p. 1, n.1.

 III.   PROCEDURAL HISTORY

        Plaintiff, on May 29, 2017, filed this lawsuit against Muskingum, Ms. Zambori, Ms.

 Dickerson, and Superintendent Neal. Doc. 1.

        Plaintiff, against Superintendent Neal, alleged defamation (Counts 16 & 17), false light

 invasion of privacy (Count 18), and publication of private facts (Count 19). Id., ¶¶335–71.

 Superintendent Neal, on August 21, 2017, filed his Answer to Plaintiff’s Complaint, denying

 liability and setting forth affirmative defenses. Doc. 32.

        Muskingum, Ms. Zambori, and Ms. Dickerson, on March 20, 2018, each filed an Answer

 to Plaintiff’s Complaint, denying liability and setting forth affirmative defenses. Doc. 44, 45, 46.

 Ms. Zambori and Ms. Dickerson also filed counterclaims against Plaintiff. Ms. Zambori filed

 claims against Plaintiff for abuse of process and intentional infliction of emotional distress. Doc.

 45, pp. 22–34. Ms. Dickerson filed claims against Plaintiff for battery/sexual assault, assault,

 false imprisonment, intentional infliction of emotional distress, and sexual harassment in

 violation of Ohio Rev. Code §4112.02. Doc. 46, pp. 54–70. Plaintiff filed an Answer to Ms.

 Dickerson’s and Zambori’s counterclaims, respectively, on April 30 and June 5, 2018.

        The pleadings are closed. The deadline to move to amend the pleadings or join additional

 parties expired on July 28, 2018. See Doc. 53, p. 2. Superintendent Neal now moves for

 judgment on the pleadings.



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        The high school student authorized disclosure of the Snapchats, with redaction of her username.

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 IV.    STANDARD FOR JUDGMENT ON THE PLEADINGS

        After the pleadings are closed—but early enough not to delay trial—a party may move

 for judgment on the pleadings. Fed. R. Civ. P. 12(c). A district court reviews a motion for

 judgment on the pleadings under Rule 12(c) of the Federal Rules of Civil Procedure, using the

 same standard as applies to a review of a motion to dismiss under Rule 12(b)(6). Jackson v.

 Professional Radiology Inc., 864 F.3d 463, 465–66 (6th Cir. 2017).

        “The district court must construe the complaint in a light most favorable to the plaintiff,

 accept all of the factual allegations as true, and determine whether the plaintiff undoubtedly can

 prove no set of facts in support of his claims that would entitle him to relief.” United States ex

 rel. Sheldon v. Kettering Health Network, 816 F.3d 399, 407 (6th Cir. 2016). However, “a legal

 conclusion couched as a factual allegation” need not be accepted as true. Bell Atlantic Corp. v.

 Twombly, 550 U.S. 544, 555 (2007). Rather, a plaintiff’s obligation to provide the “grounds”

 for the claimed entitlement to relief “requires more than labels and conclusions, and a formulaic

 recitation of the elements of a cause of action will not do.” Id. The factual allegations must

 “raise a right to relief above the speculative level.” Id. The complaint must state a claim that is

 plausible on its face, i.e., the court must be able to draw a “reasonable inference that the

 defendant is liable for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

 This “plausibility standard is not akin to a ‘probability requirement,’ but it asks for more than a

 sheer possibility that a defendant has acted unlawfully.” Id. (quoting Twombly, 550 U.S. at

 556). “Where a complaint pleads facts that are ‘merely consistent with’ a defendant’s liability, it

 ‘stops short of the line between possibility and plausibility of ‘entitlement to relief.’”      Id.

 (quoting Twombly, 550 U.S. at 557).




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        In deciding a motion for judgment on the pleadings, a court may consider exhibits

 attached to the pleadings, public records, items appearing in the record of the case, and exhibits

 attached to the defendant’s motion, so long as they are referred to in the complaint and are

 central to the claims contained therein. Gavitt v. Born, 835 F.3d 623, 640 (6th Cir. 2016); see

 also Fed. R. Civ. P. 10(c) (“A copy of a written instrument that is an exhibit to a pleading is a

 part of the pleading for all purposes.”). “A federal court sitting in diversity must apply the law of

 the highest state court if the court has ruled on the matter in dispute; otherwise, the court may

 rely on case law from lower state courts.” Henry v. Chesapeake Appalachia, L.L.C., 739 F.3d

 909, 912 (6th Cir. 2014).

 V.     LAW & ANALYSIS

        A.      Superintendent Neal is entitled to political subdivision employee immunity.

        Ohio Revised Code §2744.03(A)(6) provides, in pertinent part, that a political

 subdivision employee is immune from civil liability, absent particular enumerated exceptions:

        (A)     In a civil action brought against a political subdivision or an employee of a
                political subdivision to recover damages for injury, death, or loss to person
                or property allegedly caused by any act or omission in connection with a
                governmental or proprietary function, the following defenses or
                immunities may be asserted to establish nonliability:

                (6) *** [T]he employee is immune from liability unless one of the
                       following applies:

                        (a)     The employee’s acts or omissions were manifestly outside
                                the scope of the employee’s employment or official
                                responsibilities;

                        (b)     The employee’s acts or omissions were with malicious
                                purpose, in bad faith, or in a wanton or reckless manner;

                        (c)     Civil liability is expressly imposed upon the employee by a
                                section of the Revised Code. ***




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 See also Kropf v. Vermilion Bd. of Educ., 6th Dist. No. 46303, 1986 Ohio App. LEXIS 7795

 (Aug. 8, 1986) (superintendents are public officials and cannot be held personally liable unless it

 can be demonstrated that they are not entitled to a qualified good faith immunity).

        Here, Superintendent Neal is entitled to the general grant of immunity set forth at Ohio

 Rev. Code §2744.03(A)(6). It is undisputed Superintendent Neal, as an employee of the Tri-

 Valley Local School District, comes within the general scope of protection provided to political

 subdivision employees. None of the three exceptions to political subdivision immunity applies

 to Plaintiff’s claims against Superintendent Neal. See Ohio Rev. Code §2744.03(A)(6)(a)–(c).

 The following sections address, in turn, each of these exceptions.

                1.      Superintendent Neal, as to all relevant actions, acted within the course
                        and scope of his employment and official responsibilities as the
                        Board’s superintendent.

        Ohio Rev. Code Chapter 2744 does not define the type of acts that fall “manifestly

 outside the scope of employment or official responsibilities” for the purposes of abrogating

 political subdivision employee immunity. Ohio courts, however, have generally drawn from

 agency-law principles to hold that “conduct is within the scope of employment if it is initiated, in

 part, to further or promote the master’s business.” Martin v. Cent. Ohio Transit Auth., 70 Ohio

 App.3d 83, 92–93 (1990); see Chesher v. Neyer, 477 F.3d 784, 797 (6th Cir. 2007). Moreover,

 “[t]he issuance of a press release by government officials is action under Ohio Rev. Code

 §2744.03(A)(6)(a) as within ‘the scope of the employee’s employment or official

 responsibilities.’” Brothers v. Cty. of Summit, No. 5:03 CV 1002, 2007 U.S. Dist. LEXIS

 38468, at *100–01 (N.D. Ohio May 25, 2007).

        “An employee’s wrongful act, even if it is unnecessary, unjustified, excessive or

 improper, does not automatically take the act manifestly outside the scope of employment.”



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 Jackson v. McDonald, 144 Ohio App. 3d 301, 306 (2001) “[I]t is only where the acts of the state

 employees are motivated by actual malice or other situations giving rise to punitive damages that

 their conduct may be outside the scope of their state employment.” Id. at 307 (brackets omitted).

        Here, Superintendent Neal, for all relevant actions, acted within the course and scope of

 his employment and official responsibilities as the Board’s superintendent. Plaintiff, an elected

 member of the Board, was found responsible for sexual harassment and non-consensual sexual

 intercourse. Board members were notified of this determination, as well as Plaintiff’s expulsion

 and ban from Muskingum. Superintendent Neal—subsequently and while acting in the course

 and scope of his employment as the Board’s superintendent—sought to collect information, both

 from Plaintiff and Muskingum, concerning these accusations and determinations. The Board

 itself has voted 4-0 (with Plaintiff abstaining) to approve a resolution stating “Superintendent

 Neal’s actions taken with respect to Mr. Schaumleffel were in his official capacity and within the

 scope of his duties as Superintendent of the Tri-Valley Local School District.” Board Meeting

 Minutes, Resolution #13-211, (June 28, 2018).

        Thus, the Board (Superintendent Neal’s employer) has expressly acknowledged

 Superintendent Neal was working in the course and scope of his employment and official

 responsibilities as the Board’s Superintendent in regards to actions taken with respect to Plaintiff.

 Superintendent Neal himself has acknowledged the same. Plaintiff, on the other hand, alleges—

 in an attempt to circumvent Superintendent Neal’s immunity—that Superintendent Neal took

 actions outside the course and scope of his employment and official responsibilities as the

 Board’s Superintendent. He fails, however, to set forth the actual “grounds” for his claim;

 instead, he provides only “labels and conclusions” in his desire to defeat the immunity to which

 Superintendent Neal is entitled. See Twombly, 550 U.S. at 555.



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                2.      Superintendent Neal did not act with malice, in bad faith, or in a
                        wanton or reckless manner.

        The immunity exception set forth at R.C. 2744.03(A)(6)(b) differs from subpart (a) in

 that it explicitly focuses on the employee’s state of mind rather than the employee-employer

 relationship. Chesher v. Neyer, 477 F.3d 784, 796–97 (6th Cir. 2007). That provision examines

 whether acts or omissions were committed “with malicious purpose, in bad faith, or in a wanton

 or reckless manner.”

        “‘Malice’ is the willful and intentional design to injure or harm another, usually

 seriously, through conduct that is unlawful or unjustified.” Otero v. Wood, 316 F. Supp. 2d 612,

 629 (S.D. Ohio 2004). “‘Bad faith’ involves a dishonest purpose, conscious wrongdoing, the

 breach of a known duty through some ulterior motive or ill will, as in the nature of fraud, or an

 actual intent to mislead or deceive another.” DiLuzio v. Village of Yorkville, 796 F.3d 604, 612

 (6th Cir. 2015) (quoting Cook v. Cincinnati, 103 Ohio App.3d 80, 90–91 (1995)). Wanton and

 reckless conduct is defined as “perversely disregarding a known risk, or acting or intentionally

 failing to act in contravention of a duty, knowing or having reason to know of facts which would

 lead a reasonable person to realize such conduct creates an unreasonable risk of harm

 substantially greater than the risk necessary to make the conduct negligent.” Chesher, 477 F.3d

 at 796–97 (quoting Webb v. Edwards, 165 Ohio App.3d 158, 166 (2005)).

        Here, Superintendent Neal did not act with malice, in bad faith, or in a wanton or

 reckless manner. Plaintiff, again, attempts to abrogate Superintendent Neal’s immunity by

 alleging that he did. But, Plaintiff, again, fails to set forth the actual “grounds” for his claim;

 instead, he provides only “labels and conclusions.” See Twombly, 550 U.S. at 555. Plaintiff

 takes issue with public statements issued by the Board (of which Plaintiff is a member). These

 statements are true, and—at a minimum—protected opinions, but in any case it remains the


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 Board, not Superintendent Neal, who made these statements. Likewise, Plaintiff complains that

 Treasurer Smith issued a notice of a special meeting, but such notice is statutorily required. See

 Ohio Rev. Code §121.22(F), 3313.16. Furthermore, the District has released information to

 media outlets, but only in response to public records requests and as required by Ohio law. See

 Ohio Rev. Code §149.43.

        To the extent Plaintiff purports that Muskingum violated FERPA, that is not a proper

 claim in this lawsuit and especially not against Superintendent Neal. To start, there is no private

 right of action under FERPA.        See, e.g., Henry v. Ohio Victims of Crime Compensation

 Program, No. 2:07-cv-0052, 2007 U.S. Dist. LEXIS 14508 (S.D. Ohio Feb. 28, 2007)

 (“Congress neither expressly nor impliedly provided for any private rights of action to enforce

 HIPAA.”).      Furthermore, FERPA permits institutions of higher education—such as

 Muskingum—to disclose the final results of any disciplinary proceeding regarding crimes of

 violence and nonforcible sex offenses if the institution determines, as a result of that disciplinary

 proceeding, that the student committed a violation of the institution’s rules or policies with

 respect such crime or offense. 20 U.S.C. §1232g(b)(6)(B),(C). This includes the name of the

 student, the violation committed, and any sanction imposed by the institution on that student.

 See also 34 C.F.R. 99.31(a)(14); 34 C.F.R. 99.39. There is no redisclosure prohibition on this

 information. 65 FR 41852, 41861 (July 6, 2000). The U.S. Department of Education, moreover,

 issued commentary on this provision stating that, when educational institutions disclose

 information under this provision, “We do not believe that a school can be found liable on a

 defamation claim for this type of determination.” Id.

        Plaintiff, ultimately, appears to complain that the Board, and Superintendent Neal

 specifically, did not assist him in covering up the findings of sexual misconduct against him.



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 But, there is no law requiring Superintendent Neal to aid Plaintiff in concealing those findings.

 Rather, Federal and Ohio law both operate to ensure these types of findings and accusations are

 not hidden away from the public.          See, e.g., 20 U.S.C. §1232g(b)(6)(B),(C); 34 C.F.R.

 99.31(a)(14); 34 C.F.R. 99.39; 65 FR 41852, 41861 (July 6, 2000); see also Title IX of the

 Education Amendments of 1972, 20 U.S.C. §1681–88; Ohio Rev. Code §121.22 (Open Meetings

 Act), §149.43 (Public Records Act), 2151.421 (Child Abuse Reporting Statute).

                3.      There is no provision of the Ohio Revised Code that expressly imposes
                        civil liability upon Superintendent Neal.

        Plaintiff does not allege that a provision of the Ohio Revised Code expressly imposes

 civil liability upon Superintendent Neal. That exception, accordingly, does not apply.

        B.      Plaintiff—an elected public official—can prove no set of facts entitling him to
                judgment as to his defamation claim against Superintendent Neal.

                1.      Plaintiff fails to present clear and convincing evidence that
                        Superintendent Neal made, with actual malice, false statements about
                        him.

        To establish defamation, the plaintiff must show (1) that a false statement of fact was

 made, (2) that the statement was defamatory, (3) that the statement was published, (4) that the

 plaintiff suffered injury as a proximate result of the publication, and (5) that the defendant acted

 with the requisite degree of fault in publishing the statement. Am. Chem. Soc. v. Leadscope,

 Inc., 133 Ohio St.3d 366, 389 (2012). A plaintiff who qualifies as a public official, moreover,

 may recover for defamation only if he produces clear and convincing evidence that the

 defendant acted with actual malice. New York Times Co. v. Sullivan, 376 U.S. 254, 279–80

 (1964); Gertz, 418 U.S. at 342. Public officials cannot recover in a defamation action absent a

 showing of actual malice precisely because non-malicious statements, even if false and

 otherwise defaming, are protected by the First Amendment. Sullivan, 376 U.S. at 279–80.



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        A defendant acts with “actual malice” where the defendant knew the allegedly

 defamatory statement was false, or acted “with reckless disregard of whether it was false or not.”

 Id. at 280. “Actual malice may not be inferred from evidence of personal spite[,] ill-will[,] or

 intention to injure on the part of the [defendant]. Rather, the focus of inquiry is on [the]

 defendant’s attitude toward the truth or falsity of the publication. . . . There must be a showing

 that false statements were made with a high degree of awareness of their probable falsity. . .

 [and] sufficient evidence to permit the conclusion that the defendant in fact entertained serious

 doubts as to the truth of his publication.” List v. Driehaus, 779 F.3d 628, 633–34 (6th Cir. 2015)

 (quoting Dupler v. Mansfield Journal Co., 64 Ohio St.2d 116, 119 (1980)). In determining

 whether a plaintiff has met his burden, it is important to consider the totality of the circumstances

 which led to the publication of the statements. See Scott, 25 Ohio St. 3d 243.

        In addition, in a defamation action filed by a public official, the standard a plaintiff must

 meet to overcome a defendant’s properly-supported dispositive motion is more exacting. See

 Anderson v. Liberty Lobby, 477 U.S. 242, 254–57 (1986). Once a defendant has met its initial

 burden of showing there is no genuine issue of material fact, a plaintiff can defeat the

 defendant’s motion only by presenting specific, affirmative, concrete facts of sufficient quantum

 and quality to warrant a reasonable jury in finding that plaintiff has demonstrated actual malice

 with convincing clarity. Id.

         “Whether the evidence in the record supports a finding of actual malice is a question of

 law.” List, 779 F.3d at 632 (quoting McKimm v. Ohio Elections Comm., 89 Ohio St.3d 139,

 147 (2000). “A district court should enter summary judgment in a defendant’s favor in a

 defamation action if it appears that the plaintiff cannot establish any one of the elements of the

 claim.” Bentkowski v. Scene Magazine, 637 F.3d 689, 693 (6th Cir. 2011).



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         Here, Plaintiff has failed to allege clear and convincing evidence that Superintendent

 Neal defamed him with actual malice. Plaintiff, as a member of the Board, is an elected public

 official.”   See, e.g., Rosenblatt v. Baer, 383 U.S. 75, 85 (1966) (“[T]he ‘public official’

 designation [for defamation purposes] applies at the very least to those among the hierarchy of

 government employees who have, or appear to the public to have, substantial responsibility for

 or control over the conduct of governmental affairs.”) “[S]ociety’s interest in the officers of

 government is not strictly limited to the formal discharge of official duties. . . . The public’s

 interest extends to ‘anything which might touch on an official’s fitness for office.’” Gertz v.

 Robert Welch, Inc., 418 U.S. 323, 344–45 (1974) (quoting Garrison v. Louisiana, 379 U.S. 64,

 77 (1964)). Allegations of sexual harassment against a public official “touch on” that official’s

 fitness for office and, accordingly, relate to his official conduct. See Lee v. City & Cty. of San

 Francisco, 9th Cir. No. 98-16487, No. 98-16701, 1999 U.S. App. LEXIS 30619, at *4 (Nov. 23,

 1999) (addressing sexual harassment allegations against an assistant district attorney in San

 Francisco County).

         The undisputed facts of this case include the following: (1) Ms. Zambori stated Plaintiff

 sexually harassed and stalked her, (2) Ms. Dickerson stated Plaintiff sexually assaulted her,

 (3) Muskingum investigated those allegations, held a hearing, and determined Plaintiff was

 responsible for sexual harassment and non-consensual sexual intercourse, and (4) Muskingum

 expelled Plaintiff from the university and banned him from campus. These issues are a matter of

 public concern in the District because Plaintiff has, at all relevant times, remained a member of

 the Board.

         Ultimately, Plaintiff, as an elected public official, has failed to allege that anything

 Superintendent Neal has said about this matter is false or, at a minimum, not a protected opinion.



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 Indeed, Plaintiff does not even articulate what he claims Superintendent Neal said, specifically,

 to defame him.        As such, Plaintiff has not approached the high threshold to show a

 Superintendent Neal acted with actual malice when making these purported statements.

                  2.     Superintendent Neal’s statements are true.

           Truth is an absolute defense to a defamation claim. Ed Schorey & Sons, Inc. v. Society

 Nat’l Bank, 75 Ohio St.3d 433 (1996). A statement is not a ‘false statement’ if, even though it is

 misleading and fails to disclose all relevant facts, the statement has some truth in it. Moreover, a

 statement that is subject to different interpretations is not ‘false.’” List, 779 F.3d at 633 (quoting

 Serv. Emp. Int’l Union Dist. 1199 v. Ohio Elections Comm’n, 158 Ohio App.3d 769, 776

 (2004)). “It is sufficient [in defending a defamation action] to show that the imputation is

 substantially true, or as it is often put, to justify the ‘gist,’ the ‘sting,’ or the substantial truth of

 the defamation.”. Nat’l Medic. Serv. Corp. v. E.W. Scripps Co., 61 Ohio App.3d 752, 755

 (1989) (quoting Prosser, Law of Torts 798–99 (4th Ed. 1971). Determining whether an allegedly

 defamatory statement “has some truth” is “subject to different interpretations,” such that the

 “gist” or “sting” of the statement is substantially true, presents a “low threshold.” List, 779 F.3d

 at 633.

           In addition, under Ohio law, courts review alleged defamatory statements to determine

 whether they can apply an innocent construction. Frigo v. UAW Local 549, 5th Dist. No. 04 CA

 20, 2005-Ohio-3981, ¶27. Under the “innocent construction” doctrine, if allegedly defamatory

 words are susceptible to two meanings, one defamatory and one innocent, a court should reject

 the defamatory meaning and adopt the innocent meaning. Id. (citing Ferreri v. The Plain Dealer

 Publishing, Co., 142 Ohio App.3d 629, 642 (2001)); see also Harte-Hanks Communications, Inc.

 v. Connaughton, 491 U.S. 657, 681, 105 L. Ed. 2d 562, 109 S. Ct. 2678 (1989) (“difference of

 opinion as to the truth of a matter . . . does not alone constitute clear and convincing evidence” of

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 actual malice).

        Here, Superintendent Neal’s statements concerning Plaintiff are true. Superintendent

 Neal has commented on the sexual misconduct accusations and findings against Plaintiff, but his

 statements in that regard are true. Plaintiff takes issue with Ms. Zambori’s statement that he

 sexually harassed and stalked her, but it is still true that she made, and continues to support, that

 statement. Plaintiff takes issue with Ms. Dickerson’s statement that he sexually assaulted her,

 but it is still true that she made, and continues to support, that statement. Plaintiff takes issue

 with Muskingum’s determination that he was responsible for sexual harassment and non-

 consensual sexual intercourse, but it is still true that Muskingum made that determination.

        Indeed, Plaintiff does not base his claims against Superintendent Neal on what

 Superintendent Neal said, he is disgruntled that Superintendent Neal said anything at all.

 Plaintiff, again, appears to contend that Muskingum’s determination that he had engaged in

 sexual misconduct should remain secret from the District and from his constituents. That is why

 his claims against Superintendent Neal focus on a purported FERPA violation by Muskingum

 (for which there is no private right of action), rather than articulating what Superintendent Neal

 purportedly said to defame him.

                   3.   Superintendent Neal’s statements are, at a minimum, protected
                        opinions.

        Statements of opinion are a protected form of speech under both the United States and

 Ohio Constitutions. Bentkowski, 637 F.3d at 693–94; Scott, 25 Ohio St.3d at 244. The United

 States Supreme Court does not recognize “a wholesale defamation exemption for anything that

 might be labeled ‘opinion,’” but does offer protection to the free exchange of “ideas.” Milkovich

 v. Lorain Journal Co., 497 U.S. 1, 18 (1990). “[U]nder the First Amendment there is no such

 thing as a false idea. However pernicious an opinion may seem, we depend for its correction not


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 on the conscience of judges and juries but on the competition of other ideas. But there is no

 constitutional value in false statements of fact.’” Gertz, 418 U.S. at 339–40. The United States

 Constitution, in other words, protects the publication of expressions of pure opinion, whereas

 opinions based on erroneous facts are actionable if published with actual malice. Jenkins v.

 KYW, Div. of Group W, Westinghouse Broadcasting & Cable, Inc., 829 F.2d 403, 408 (3d Cir.

 1987).

          “The Ohio Constitution goes beyond the federal Constitution in that certain false

 statements of opinion are protected. This protection exists as a separate and independent

 guarantee ancillary to freedom of expression and requires a reviewing court to determine

 whether the language in question is fact or opinion.” List v. Driehaus, 805 F.Supp.2d 423, 427

 (S.D.Ohio 2011) (citing Vail v. The Plain Dealer Publ’g Co., 72 Ohio St.3d 279, 281 (1995)).

 Under Ohio law, a statement of opinion, no matter how derogatory, unjustified or unreasonable,

 is not actionable. Frigo, 2005-Ohio-3981, ¶30. To determine whether a statement constitutes

 protected opinion or actionable fact, courts consider the totality of the circumstances, including

 factors such as: (1) “the specific language used”; (2) “whether the statement is verifiable”;

 (3) “the general context of the statement”; and (4) “the broader context in which the statement

 appeared.” See Bentkowski, 637 F.3d at 693–94 (quoting Vail, 72 Ohio St.3d at 282). The

 totality of the circumstances test is very flexible, and when reviewing all four factors, the weight

 given any one factor will vary depending on the circumstances of each case. List, 805 F.Supp.2d

 at 427 (citing Vail, 72 Ohio St.3d at 282). “This analysis is not a bright-line test, but does

 establish parameters within which each statement or utterance may stand on its own merits rather

 than be subjected to a mechanistic standard.” Id. The privilege afforded to “opinion” is a

 question of law for the court. Wampler v. Higgins, 93 Ohio St.3d 111, 126–27 (2001).



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        Here, Superintendent Neal’s statements, to the extent they are not objectively true, are—

 at a minimum—protected opinions.           Superintendent Neal has opined that Muskingum’s

 determination that Plaintiff was responsible for sexual misconduct, coupled with Plaintiff’s

 refusal to comment on the situation publicly at Board meetings, has created a “scandal” for the

 District. Superintendent Neal has further opined that “In my opinion, It is time [for Plaintiff] to

 provide the records [concerning his expulsion from Muskingum] or resign from the Board of

 Education.” Both these statements come well within the protections afforded—under both the

 United States and Ohio Constitutions—to opinion, especially given these opinions concern an

 elected public official.   Plaintiff has failed to articulate any other statements made by

 Superintendent Neal that he contends are defamatory.

                4.     Qualified privilege protects Superintendent Neal’s statements.

        If a claimant establishes a prima facie case of defamation, a defendant may then invoke a

 conditional or qualified privilege. Jackson v. City of Columbus, 117 Ohio St.3d 328, 331

 (2008). A publication is privileged when it is “fairly made by a person in the discharge of some

 public or private duty, whether legal or moral, or in the conduct of his own affairs, in matters

 where his interest is concerned.” Hahn v. Kotten, 43 Ohio St.2d 237, 243–44 (1975). “The

 essential elements of a conditionally privileged communication may accordingly be enumerated

 as good faith, an interest to be upheld, a statement limited in its scope to this purpose, a proper

 occasion, and publication in a proper manner and to proper parties only.” Id. at 246. The

 privilege arises from the necessity of full and unrestricted communication concerning a matter in

 which the parties have an interest, and is not restricted within any narrow limits. Wylie v.

 Arnold Transp. Servs., 494 F.Supp.2d 717, 731 (S.D. Ohio 2006) (citing A & B-Abell Elevator

 Co. v. Columbus / Cent. Ohio Bldg. & Constr. Trades Council, 73 Ohio St.3d 1, 8 (1995)).



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        The Ohio Supreme Court has explained the public policy supporting the qualified

 privilege, as follows:

                The defense of qualified privilege is deeply rooted in public policy.
                It applies in a variety of situations where society’s interest in
                compensating a person for loss of reputation is outweighed by
                a competing interest that demands protection. Accordingly, the
                privilege does not attach to the communication, but to the occasion
                on which it is made. It does not change the actionable quality of
                the publication, but heightens the required degree of fault. This
                affords some latitude for error, thereby promoting the free flow of
                information on an occasion worthy of protection.

 A & B-Abell Elevator Co., 73 Ohio St.3d at 8–9 (emphasis added); see Woods v. Capital Univ.,

 10th Dist. No. 09AP-166, 2009-Ohio-5672, ¶38 (“Public concern is something that is a subject

 of legitimate news interest; that is, a subject of general interest and of value and concern to the

 public at the time of publication.”).

        A qualified privilege may be defeated only if a claimant proves with convincing clarity

 that a publisher acted with actual malice. Jacobs v. Frank, 60 Ohio St.3d 111, syllabus ¶2

 (1991). “In a qualified privilege case, ‘actual malice’ is defined as acting with knowledge that

 the statements are false or acting with reckless disregard as to their truth or falsity.” Id. The

 phrase “reckless disregard” applies when a publisher of defamatory statements acts with a “high

 degree of awareness of their probable falsity,” Garrison v. La., 379 U.S. 64, 74 (1964), or when

 the publisher “in fact entertained serious doubts as to the truth of his publication,” St. Amant v.

 Thompson, 390 U.S. 727, 731 (1968). Thus, the lack of an innocent motive on the part of the

 defendant is insufficient to defeat the privilege. A&B-Abell, 73 Ohio St.3d at 11. Likewise,

 “the failure to investigate before publishing will not defeat a qualified privilege, unless the

 defendant entertained serious doubts as to the truth of his statements or the veracity or accuracy

 of his sources.” Id. at 12–13.



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         Where a statement has some basis in fact, actual malice may not exist. See Spingola v.

 Sinclair Media, II, Inc., 10th Dist. No. 06AP-402, 2006-Ohio-6950; see, e.g., Serv. Emp.

 Internatl. Union Dist. 1199 v. Ohio Elections Comm., 158 Ohio App.3d 769, 822 N.E.2d 424

 (where a statement is supported by some basis in fact, courts have found insufficient evidence of

 actual malice even if the statement is ultimately found to be untrue); Flannery v. Ohio Elections

 Comm., 156 Ohio App.3d 134, 2004-Ohio-582, 804 N.E.2d 1032 (finding no malice where

 ultimately incorrect statements were published but the defendant had a factual foundation and an

 arguably rational basis for making the statements). The determination of whether the privilege

 applies is a question of law for the court. Id. at 7.

         Here, qualified privilege protects Superintendent Neal’s statements. Superintendent Neal

 has communicated to Board members (including Plaintiff) and certain District administrative

 personnel concerning Muskingum’s determination that Plaintiff was responsible for sexual

 harassment and non-consensual sexual intercourse, as well as Plaintiff’s expulsion/ban from the

 university. These communications were made in good faith with the purpose of furthering the

 District’s interests in educating and protecting its students. See also Ohio Rev. Code §3365.01

 et seq. (setting forth Ohio’s College Credit Plus program, which could allow students to attend

 Tri-Valley High School and Muskingum University concurrently).

         The Board has also shared information concerning the issue with the District’s

 community; this issue, as demonstrated by the letter first informing Board members of Plaintiff’s

 expulsion/ban, is of “grave concern” to the District community and parents. That concern was

 further justified when, in early 2018, it was discovered that Plaintiff was Snapchatting

 inappropriate messages to a female high school student in the District. Ultimately, Plaintiff’s

 position is unfounded when he suggests that the Board, and Superintendent Neal, should have—



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 and were legally required to—assist him in covering up Muskingum’s determination that

 Plaintiff engaged in sexual misconduct.

        B.      Superintendent Neal is entitled to judgment on the pleadings as to Plaintiff’s
                “false light” claim.

        In Ohio, under a “false light” invasion of privacy theory, “one who gives publicity to a

 matter concerning another that places the other before the public in a false light is subject to

 liability to the other for invasion of his privacy if (1) the false light in which the other was placed

 would be highly offensive to a reasonable person, and (2) the actor had knowledge of or acted in

 reckless disregard as to the falsity of the publicized matter and the false light in which the other

 would be placed.” Welling v. Weinfeld, 113 Ohio St.3d 464, 473, 866 N.E.2d 1051 (2007). “In

 order to succeed on this claim, the statement made by the defendant must be untrue.” Roth v.

 Sloan, No.08cv1656, 2011 U.S. Dist. LEXIS 46171, at *23 (N.D. Ohio Apr. 29, 2011).

        “Since [a false light] claim is similar to defamation, a plaintiff may pursue both claims in

 the alternative; however, a plaintiff may not recover under both claims for a single statement.”

 Roth, 2011 U.S. Dist. LEXIS 46171 (citing Welling, 866 N.E.2d at 1058). “[T]he core reasons

 that necessitated a dismissal of a defamation claim may inform the disposition of a false-light

 invasion of privacy claim.” Waters v. Ohio State Univ., Ct. of Cl. No. 2015-00457, 2016-Ohio-

 5260, ¶50. This is due in part because “[f]alse-light defendants enjoy protections at least as

 extensive as defamation defendants.” Welling, 113 Ohio St.3d at 471.

        Here, Plaintiff’s false light claim fails for the same reasons his defamation claim fails:

 (1) Superintendent Neal is entitled to political subdivision employee immunity; (2) Plaintiff

 cannot meet the high threshold, as an elected public official, to show that Superintendent Neal

 made any defamatory statements about him with actual malice; (3) Superintendent Neal did not

 defame Plaintiff because Superintendent Neal’s statements are true or, at a minimum, protected


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 opinion, and (4) qualified privilege protects Superintendent Neal’s statements. Furthermore,

 there is no private right of action under FERPA, and Plaintiff is not entitled to repackage his

 claim of a purported FERPA violation against Muskingum as a false light claim against

 Superintendent Neal.

        C.      Superintendent Neal is entitled to judgment on the pleadings as to Plaintiff’s
                “publication of private facts” claim.

        To establish a claim for “publication of private facts,” a plaintiff must prove: (1) there has

 been a public disclosure; (2) the disclosure was of facts concerning the private life of an

 individual; (3) the matter disclosed would be highly offensive and objectionable to a reasonable

 person of ordinary sensibilities; (4) the disclosure was intentional; and (5) the matter publicized

 was not of legitimate concern to the public. Unroe v. Bd. of Edn. Rock Hill Local School Dist.,

 S.D. Ohio No. 1:04-CV-00181, 2006 U.S. Dist. LEXIS 602, at *25–26 (Jan. 4, 2006).

        Here, Plaintiff’s “public disclosure of private facts” claim fails. “[S]ociety’s interest in

 the officers of government is not strictly limited to the formal discharge of official duties. . . .

 The public’s interest extends to ‘anything which might touch on an official’s fitness for office.’”

 Gertz, 418 U.S. at 344–45. Allegations of sexual harassment against a public official “touch on”

 that official’s fitness for office and, accordingly, relate to his official conduct. See Lee, 1999

 U.S. App. LEXIS 30619, at *4; accord Restatement 2d of Torts, §652D, comment f (“Those who

 commit crime or are accused of it may not only not seek publicity but may make every possible

 effort to avoid it, but they are nevertheless persons of public interest, concerning whom the

 public is entitled to be informed.”).

        Indeed, it is a matter of public concern when an elected public official is accused of, and

 found responsible for, misconduct.         Specifically, in this case, the Tri-Valley Local School

 District community has a public concern about Plaintiff being accused of, and found responsible


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 for, sexual misconduct against two young women. Plaintiff, in his position as an elected Board

 member, not only is involved in directing the District students’ educations, but—until February

 8, 2018, when the Board banned him from the District’s property (with the exception of Board

 meetings) for Snapchatting inappropriate messages to a female high school student in the

 District—also had in-person access, on the District’s property, to its students. Although Plaintiff

 calls the Muskingum’s determination that he was responsible for sexual misconduct against two

 young women his “private activities,” the law dictates otherwise.

 VI.    CONCLUSION

        For the reasons set forth herein, Superintendent Neal requests this Court grant him

 judgment on the pleadings as to Plaintiff’s claims against him.




                                                     Respectfully submitted,


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                                   CERTIFICATE OF SERVICE

        A true and accurate copy of the foregoing was served this 9th day of August 2018, via the

 Court’s electronic filing system, upon:

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